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7                            UNITED STATES DISTRICT COURT
8             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
9
     CRNOGORSKA PLOVIDBA A.D.                    Case No.
10   KOTOR,
                                                 IN ADMIRALTY
11           Plaintiff,
12
       vs.
13
     GLOBAL AMERICAN TRANSPORT                   PROCESS OF MARITIME
14   LLC,                                        ATTACHMENT AND GARNISHMENT
15                                               [Fed. R. Civ. P. Supp. Rule B(1)]
             Defendant,
16
     and
17
     INMOTION HOSTING, INC.; BANK
18
     OF AMERICA, N.A.,
19
             Garnishees.
20

21

22      TO GARNISHEE: Bank of America, N.A.
23      WHEREAS, on September 5, 2024, Plaintiff Crnogorska Plovidba A.D. Kotor
24   filed a Verified Complaint in the United States District Court for the Central District
25   of California, for amounts alleged due and owing said Plaintiff by Defendant Global
26   American Transport LLC, for the sum of USD $1,757,542.35, and praying for
27   process of maritime attachment and garnishment against the property of said
28   Defendant pursuant to Supplemental Rule B for Certain Admiralty and Maritime
                                                 1
                           Process of Maritime Attachment & Garnishment
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1    Claims of the Federal Rules of Procedure (“Rule B”); and
2         WHEREAS, this Process of Maritime Attachment and Garnishment issued
3    following the Court’s review of Plaintiff’s Verified Complaint, verification, and ex
4    parte application for issuance of process of maritime attachment and
5    garnishment, pursuant to which the Court found the conditions of Rule B appear
6    to exist and entered an Order so stating and authorizing issuance of process of
7    maritime attachment and garnishment;
8         NOW, THEREFORE, you are hereby commanded that if the said Defendant
9    cannot be found within the District, you attach the following pursuant to
10   Supplemental Rule E(4) for Certain Admiralty and Maritime Claims of the Federal
11   Rules of Procedure:
12          All assets, cash, funds, credits, wire transfers, accounts, letters of
13          credit, electronic fund transfers, freights, sub-freights, charter hire,
14          sub-charter hire, or any other tangible and/or intangible assets
15
            belonging to, due, claimed by, being held for or on behalf of, or being
16
            transferred for the benefit of Defendant Global American Transport
17
            LLC within this District up to USD $1,757,542.35, and that the same
18
            be attached as may be found in the possession of garnishees or
19
            which are found in the possession or control of specific garnishee
20
            Bank of America, N.A., and/or any other garnishee within this District.
21
          YOU ARE FURTHER COMMANDED, promptly after execution of this
22
     process, to file notice in this Court with your return thereon and mail a copy to
23
     //
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     //
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                                                 2
                           Process of Maritime Attachment & Garnishment
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1    the attorney at whose request the execution was completed (Neil B. Klein,
2    McKasson & KLein LLP, 18401 Von Karman Avenue, Suite 330, Irvine, CA
3    92612, (949) 724-0200).
4       WITNESS THE HONORABLE ________________________, United States
5    District Court, this ___ day of September 2024.
6
                                     By: ___________________________
7                                        CLERK OF THE COURT
8
                                     BY: _______________________
9                                       Deputy Clerk

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                         Process of Maritime Attachment & Garnishment
